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KKLETT ROONEY LIEBER & SCHORLING

A PROFESSIONAL CORPORATION

40TH FLOOR, ONE OXFORD CENTRE
PITTSBURGH, PENNSYLVANIA 15219-6498
TELEPHONE (412) 392-2000
FACSIMILE (412) 392-2128

= ORE : JANUARY 21,

2006
MATTER : P8879-004
INVOICE : 202975
FOR PROFESSIONAL SERVICES RENDERED THROUGH: 12/25/05 AJR
T IME SUMMARY
RATE HOURS TOTALS
BH SIMMONS 175.00 9.30 1627.50
Cc B GIBBONS 365.00 125.50 45807..50
E J MCLAUGHLIN 125.00 15.50 1937.50
J M WEBSTER 135.00 18.00 2430.00
L A YODER 105.00 4114.50 .12022.50
L ZALEWSKI 105.00 1.40 147.00
M J MANZO 365.00 116.60 42559.60
M R RHODES 155.00 34.00 5270.00
TOTALS 434.80 111801.00
TOTAL FEES 111,801.00
DESCRIPTION OF EXPENSE ADVANCES AMOUNT
REPRODUCTION OF DOCUMENTS , 778.20
TELECOPY EXPENSES . 6.00
FEDERAL EXPRESS 45.63
DUPLICATING SERVICES - DITTO DOCUMENT 149.95
SERVICES, INC.
DUPLICATING SERVICES - DITTO DOCUMENT : 29.43
SERVICES, INC.
DUPLICATING SERVICES - DITTO DOCUMENT : 321.00
SERVICES, INC.
DUPLICATING SERVICES - DITTO DOCUMENT 56.11
SERVICES, INC.
DUPLICATING SERVICES - DITTO DOCUMENT 67.19
SERVICES, INC.
DUPLICATING SERVICES - IKON OFFICE SOLUTIONS 148.56
DUPLICATING SERVICES -

IKON OFFICE SOLUTIONS 17.33
